      Case 16-24101-CMB                        Doc 103
     Fill in this information to identify the case:
                                                               Filed 01/07/22 Entered 01/07/22 15:31:20                        Desc Main
                                                              Document Page 1 of 5
     Debtor 1              JAMES T SMITH


     Debtor 2              JANICE L SMITH
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          16-24101CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  US BANK TRUST NA - TRUSTEE CVF III MTG                                          12

 Last 4 digits of any number you use to identify the debtor's account                         6   5   2   3

 Property Address:                             507 JACKSON ST
                                               MONONGAHELA PA 15063




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $     16,706.51

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $     16,706.51

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $         587.87

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $         587.87
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $     17,294.38


 Part 3:             Postpetition Mortgage Payment


 Check one

 ý Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $347.81
         The next postpetition payment is due on                 1 / 1 / 2022
                                                                MM / DD / YYYY

 ¨ Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
  Case 16-24101-CMB                  Doc 103    Filed 01/07/22 Entered 01/07/22 15:31:20                               Desc Main
                                               Document Page 2 of 5



Debtor 1     JAMES T SMITH                                                    Case number   (if known)   16-24101CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date   01/07/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                               page 2
  Case 16-24101-CMB             Doc 103      Filed 01/07/22 Entered 01/07/22 15:31:20                             Desc Main
                                            Document Page 3 of 5



Debtor 1     JAMES T SMITH                                               Case number   (if known)   16-24101CMB
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
08/25/2017   1049927    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            263.00
11/27/2018   1100889    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                          1,084.35
12/21/2018   1103987    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            194.13
01/25/2019   1107266    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            792.26
02/25/2019   1110482    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            337.30
03/25/2019   1113775    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            336.85
04/26/2019   1117105    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            336.41
05/24/2019   1120497    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            343.11
06/25/2019   1123903    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            345.02
07/29/2019   1127369    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                          3,523.26
08/27/2019   1130848    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            424.43
09/24/2019   1134091    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            194.72
10/24/2019   1137491    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            410.92
11/25/2019   1140946    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            635.72
12/23/2019   1144324    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            409.73
01/28/2020   1147797    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            312.53
02/25/2020   1151335    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            410.41
03/23/2020   1154812    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            409.77
04/27/2020   1158274    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            624.41
06/26/2020   1164763    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            522.61
07/29/2020   1167847    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            586.94
08/25/2020   1170920    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            371.74
09/28/2020   1174033    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            584.94
10/26/2020   1177103    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            166.74
11/24/2020   1180157    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            599.00
12/21/2020   1183076    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            597.84
01/25/2021   1186096    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            596.52
02/22/2021   1189217    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            380.17
03/26/2021   1192535    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            593.14
04/26/2021   1195766    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            318.54
                                                                                                                      16,706.51

Post Petition Claim (1305) (Part 2 (d))
11/22/2021 1217608      US BANK TRUST NA - TRUSTEE CVF III MTGAMOUNTS
                                                               LOAN TRUST
                                                                      DISBURSED
                                                                          II    TO CREDITOR                             587.87
                                                                                                                        587.87

MORTGAGE REGULAR PAYMENT (Part 3)
03/28/2017   1033548    CITIFINANCIAL SERVICING LLC             AMOUNTS DISBURSED TO CREDITOR                          1,228.97
04/21/2017   1036939    CITIFINANCIAL SERVICING LLC             AMOUNTS DISBURSED TO CREDITOR                            407.93
05/25/2017   1039915    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            428.43
06/27/2017   1043260    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            402.05
07/25/2017   1046615    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            389.68
08/25/2017   1049927    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            508.64
09/26/2017   1053263    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                             18.24
12/21/2017   1063195    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            318.95
01/25/2018   1066600    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            494.98
02/23/2018   1069834    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            630.25
03/28/2018   1072997    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            534.84
04/24/2018   1076227    BAYVIEW LOAN SERVICING LLC**            AMOUNTS DISBURSED TO CREDITOR                            540.60
05/25/2018   1079369    ATLANTICA LLC                           AMOUNTS DISBURSED TO CREDITOR                            433.02
06/22/2018   1082624    ATLANTICA LLC                           AMOUNTS DISBURSED TO CREDITOR                            338.15
07/26/2018   1085722    ATLANTICA LLC                           AMOUNTS DISBURSED TO CREDITOR                            500.24
08/28/2018   1088996    ATLANTICA LLC                           AMOUNTS DISBURSED TO CREDITOR                            364.45
11/27/2018   1100889    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                          1,043.43
12/21/2018   1103987    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
01/25/2019   1107266    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
02/25/2019   1110482    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
03/25/2019   1113775    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
04/26/2019   1117105    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
05/24/2019   1120497    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
06/25/2019   1123903    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
07/29/2019   1127369    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
08/27/2019   1130848    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81

Form 4100N                                    Notice of Final Cure Payment                                               page 3
  Case 16-24101-CMB             Doc 103      Filed 01/07/22 Entered 01/07/22 15:31:20                             Desc Main
                                            Document Page 4 of 5



Debtor 1     JAMES T SMITH                                               Case number   (if known)   16-24101CMB
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
09/24/2019   1134091    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
10/24/2019   1137491    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
11/25/2019   1140946    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
12/23/2019   1144324    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
01/28/2020   1147797    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
02/25/2020   1151335    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
03/23/2020   1154812    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
04/27/2020   1158274    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
05/26/2020   1161603    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
06/26/2020   1164763    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
07/29/2020   1167847    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
08/25/2020   1170920    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
09/28/2020   1174033    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
10/26/2020   1177103    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
11/24/2020   1180157    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
12/21/2020   1183076    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
01/25/2021   1186096    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
02/22/2021   1189217    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
03/26/2021   1192535    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
04/26/2021   1195766    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
05/25/2021   1198888    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
06/25/2021   1202071    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
07/26/2021   1205262    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
08/26/2021   1208419    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
09/24/2021   1211525    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
10/25/2021   1214580    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            347.81
11/22/2021   1217608    US BANK TRUST NA - TRUSTEE CVF III   MTGAMOUNTS
                                                                 LOAN TRUST
                                                                        DISBURSED
                                                                            II    TO CREDITOR                            684.38
                                                                                                                      21,440.58




Form 4100N                                    Notice of Final Cure Payment                                               page 4
  Case 16-24101-CMB            Doc 103     Filed 01/07/22 Entered 01/07/22 15:31:20                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

JAMES T SMITH
JANICE L SMITH
507 JACKSON STREET
MONONGAHELA, PA 15063

SCOTT R LOWDEN ESQ**
NICOTERO & LOWDEN PC
3948 MONROEVILLE BLVD STE 2
MONROEVILLE, PA 15146

US BANK TRUST NA - TRUSTEE CVF III MTG LOAN TRUST II
C/O FAY SERVICING LLC(*)
PO BOX 814609
DALLAS, TX 75381-4609

MCCALLA RAYMER ET AL
NATL BANKRUPTCY DEPT**
1544 OLD ALABAMA RD**
ROSWELL, GA 30076-2102




1/7/22                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
